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                                                                                                   E-FILED
                                                                      Wednesday, 30 May, 2018 08:32:18 AM
                                                                             Clerk, U.S. District Court, ILCD

                               UNITED STATES DISTRICT COURT
                               CENTRAL DISTRICT OF ILLINOIS
                                     URBANA DIVISION

                                                     )
  PRAIRIE RIVERS NETWORK,                            )
                                                     )     No. 2:18-cv-02148
            Plaintiff,                               )
                          v.                         )
                                                     )     COMPLAINT FOR DECLARATORY
  DYNEGY MIDWEST GENERATION, LLC,                    )     AND INJUNCTIVE RELIEF
                                                     )
            Defendant.                               )
                                                     )


                                    NATURE OF THE CASE

       1.        Plaintiff Prairie Rivers Network (“PRN”) brings this citizen enforcement action

against Defendant Dynegy Midwest Generation, LLC (“Dynegy”) for violations of the Clean

Water Act (“CWA”), 33 U.S.C. §§ 1311 and 1342, at the Vermilion Power Station in Vermilion

County, Illinois.

       2.        Dynegy has discharged, and is discharging on an ongoing basis, pollutants into

the Middle Fork of the Vermilion River (“Middle Fork”) from numerous, discrete, unpermitted

seeps on the riverbank. Although Dynegy holds a permit that authorizes the company to

discharge pollutants from the Vermilion Power Station to the Middle Fork through nine external

outfalls, Dynegy’s discharges of pollutants into the Middle Fork from these seeps violate the

CWA because they are not authorized by any permit and are contrary to the limited authorization

to discharge within Dynegy’s discharge permit.

       3.        Dynegy has also discharged, and is discharging on an ongoing basis, pollutants

into the Middle Fork in concentrations, colors, and with characteristics that violate Illinois
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effluent limits and water quality standards that are incorporated as conditions of the Vermilion

permit. By violating these permit conditions, Dynegy is also in violation of the CWA.

       4.        Through this suit, Plaintiff seeks:

            a.   a declaratory judgment that Dynegy is violating the CWA at the Vermilion

                 Power Station;

            b. injunctive relief compelling Dynegy to cease all unpermitted discharges of

                 pollutants into the Middle Fork from the Vermilion Power Station; and

            c. an order directing Dynegy to pay civil penalties for its violations of the CWA.

                                  JURISDICTION AND VENUE

       5.        This action arises under the citizen suit provision of the CWA, 33 U.S.C. §

1365(a). This Court has jurisdiction pursuant to the CWA, as well as 28 U.S.C. § 1331 (the

federal question statute). This Court has jurisdiction over the parties. This Court may award

Prairie Rivers Network declaratory relief pursuant to the Declaratory Judgment Act, 28 U.S.C.

§§ 2201-02.

       6.        The CWA’s citizen suit provision authorizes any affected citizen to commence a

civil action against anyone “who is alleged to be in violation of . . . an effluent standard or

limitation.” 33 U.S.C. § 1365(a)(1). The term “violation of . . . an effluent standard or

limitation” means, inter alia, a discharge of a pollutant without authorization in a National

Pollutant Discharge Elimination System (“NPDES”) permit, or any violation of a NPDES

“permit or condition thereof.” Id. § 1365(f)(1), (6); see also id. §§ 1311(a), 1342. The CWA

citizen suit provision, id. § 1365(a), empowers the Court to enforce such an effluent standard or

limitation and to impose any appropriate civil penalties under section 309(d) of the CWA, id. §

1319(d).



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       7.      Plaintiff has provided Dynegy with notice of the CWA violations alleged in this

Complaint and of its intent to sue Dynegy, as required by 33 U.S.C. § 1365(b)(1)(A). A copy of

this notice letter is attached as Exhibit A and was sent to Dynegy and its registered agent on

January 31, 2018. Plaintiff also sent copies of the notice letter to the Administrator and the

Regional Administrator of the U.S. Environmental Protection Agency (“EPA”) and to the Illinois

Environmental Protection Agency (“IEPA”).

       8.      More than sixty days have passed since the January 31, 2018, notice letter was

served, and, based on information and belief, the violations outlined in the notice letter and

alleged in this Complaint are continuing at this time and are likely to persist.

       9.      Neither EPA nor IEPA has commenced or is diligently prosecuting a civil or

criminal action to redress the asserted violations as described in 33 U.S.C. § 1365(b)(1)(B).

       10.     The Vermilion Power Station is located in Vermilion County in this judicial

district. Therefore, venue in this judicial district is appropriate pursuant to 33 U.S.C. §

1365(c)(1), and this case is properly filed in this court’s Urbana Division.

                                             PARTIES

       11.     Plaintiff PRN is an Illinois non-profit organization with more than 1,000 members

that champions clean, healthy rivers and lakes and safe drinking water to benefit the people and

wildlife of Illinois. Drawing upon sound science and working cooperatively with others, PRN

advocates public policies and cultural values that sustain the ecological health and biological

diversity of water resources and aquatic ecosystems.

       12.     PRN holds events for members of the organization and the public along and on

the Middle Fork, including immediately downstream of the pollution discharge points of

Dynegy. It intends to hold similar events in the near future and thereafter.



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       13.     Individual members of PRN live near, study, work, and recreate in and around,

the Middle Fork, including in the vicinity of the Vermilion Power Station. These individuals’

use and enjoyment of the Middle Fork is harmed, and has been harmed for years, by Dynegy’s

unauthorized and prohibited discharges of pollutants into the Middle Fork and the resulting

degraded water quality. Maintaining the aesthetic beauty and ecological vitality of the Middle

Fork is crucial to a wide array of activities that occur on the Middle Fork, including recreation

that involves direct and extended bodily contact with the water, many of which PRN members

participate in. Unauthorized and prohibited discharges from the Vermilion Power Station thus

directly harm PRN members. These members have a strong, direct, and immediate interest in

ensuring that the water quality and environmental health of the Middle Fork support its full use

and appreciation and that their neighbors on the Middle Fork use this shared resource in a

manner consistent with state and federal law.

       14.     The injuries suffered by the respective individual members of PRN are traceable

to Dynegy’s unauthorized and prohibited discharges from the Vermilion Power Station, because

the unauthorized and prohibited discharges add pollution to the Middle Fork that contributes to

degradation of the water quality adjacent to, and downstream of, the plant. PRN members have

already been harmed by unauthorized and prohibited discharges from the Vermilion Power

Station, and they will continue to be harmed by such discharges.

       15.     The requested declaratory and injunctive relief mandating that Dynegy comply

with the CWA, as well as the imposition of civil penalties to deter future violations, will redress

PRN’s members’ injuries. These injuries will not be redressed except by an order from this

Court assessing civil penalties against Dynegy and/or requiring Dynegy to take immediate and




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effective action to stop the unauthorized and prohibited discharges into the Middle Fork, and

ordering the other relief sought in this action.

       16.     Defendant Dynegy owns the Vermilion Power Station. Dynegy, a subsidiary of

Vistra Energy, is headquartered at 6555 Sierra Drive in Irving, TX 75039. Dynegy is

incorporated in the State of Delaware.

                                     LEGAL BACKGROUND

       17.     The CWA is the principal federal statute enacted to protect the quality of the

waters of the United States. The stated objective of the CWA is “to restore and maintain the

chemical, physical, and biological integrity of the Nation’s waters” by, among other things,

achieving the goal of “eliminat[ing]” “the discharge of pollutants into the navigable waters.” 33

U.S.C. § 1251(a), (a)(1). The CWA also seeks to attain “water quality which provides for the

protection and propagation of fish, shellfish, and wildlife and provides for recreation in and on

the water.” Id. § 1251(a)(2). Further, the CWA establishes that “it is the national policy that the

discharge of toxic pollutants in toxic amounts be prohibited.” Id. § 1251(a)(3).

       18.     Section 301(a) of the CWA, id. § 1311(a), provides that “the discharge of any

pollutant . . . shall be unlawful” unless, in pertinent part, the discharge is made pursuant to and is

authorized by a NPDES permit, as provided by section 402 of the CWA, id. § 1342. A NPDES

permit is required to establish limits that, among other things, restrict the amount or

concentration of pollutants that can be discharged into navigable waters. NPDES permits also

require that a discharger monitor and publicly report the amount or concentration of pollutants it

discharges. NPDES permits are issued for fixed terms that may not exceed five years in length.

Id. § 1342(b)(1)(B).




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       19.       The CWA defines “discharge of a pollutant” to include, inter alia, “any addition

of any pollutant to navigable waters from any point source.” Id. § 1362(12).

       20.       The CWA defines “pollutant” to include, among other things, “solid waste,”

“chemical wastes,” and “industrial . . . waste discharged into water.” Id. § 1362(6).

       21.       The CWA defines “navigable waters” to mean “the waters of the United States.”

Id. § 1362(7).

       22.       The CWA defines “point source” to include “any discernible, confined and

discrete conveyance, including but not limited to any pipe, ditch, channel, tunnel, conduit, well,

discrete fissure, [or] container . . . from which pollutants are or may be discharged.” Id.

§ 1362(14).

       23.       The CWA provides that a State may establish its own permit program, and after

receiving EPA’s approval, may issue NPDES permits. Id. § 1342(b). EPA first approved

Illinois’ NPDES program covering many of the waters of Illinois, including the Middle Fork and

the Vermilion River, on October 23, 1977.

       24.       Section 303 of the CWA “requires each State, subject to federal approval, to

institute comprehensive water quality standards establishing water quality goals for all intrastate

waters.” PUD No. 1 of Jefferson Cnty. v. Wash. Dep’t of Ecology, 511 U.S. 700, 704 (1994)

(citing 33 U.S.C. §§ 1311(b)(1)(C), 1313).

       25.       Under Section 303 of the CWA, water quality standards developed by States:

       shall consist of the designated uses of the navigable waters involved and the water
       quality criteria for such waters based upon such uses. Such standards shall be such
       as to protect the public health or welfare, enhance the quality of water and serve the
       purposes of this chapter. Such standards shall be established taking into
       consideration their use and value for public water supplies, propagation of fish and
       wildlife, recreational purposes, and agricultural, industrial, and other purposes, and
       also taking into consideration their use and value for navigation.



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33 U.S.C. § 1313(c)(2)(A).

        26.     The Illinois Pollution Control Board promulgates water quality standards in

Illinois. Section 302, Water Quality Standards, Section 303, Water Use Designations and Site

Specific Water Quality Standards, and Section 304, Effluent Standards, contain standards

applicable to waters of the state of Illinois.

        27.     Any affected citizen may commence a civil action against a defendant “who is

alleged to be in violation of . . . an effluent standard or limitation” under the CWA citizen suit

provision, 33 U.S.C. § 1365(a)(1). The term violation of “an effluent standard or limitation”

includes any discharge of a pollutant that is not authorized by a NPDES permit, as well as any

violation of any NPDES “permit or condition thereof.” Id. § 1365(f); see also id. §§ 1311(a),

1342. The CWA citizen suit provision, id. § 1365(a), empowers the Court to enforce such an

effluent standard or limitation and to impose any appropriate civil penalties under section 309(d)

of the CWA, id. § 1319(d). The action “may be brought . . . only in the judicial district” in

which the alleged violation occurs. Id. § 1365(c)(1). Before commencing the action, the

plaintiff must first give notice of its claims to the defendant and to federal and state government

officials, and it may bring the action sixty days after notice is given. Id. § 1365(b)(1)(A).

                                   FACTUAL BACKGROUND

        The Facility and Location

        28.     The Vermilion Power Station is owned by Defendant Dynegy.

        29.     The Vermilion Power Station is a retired coal-fired power plant located

approximately five miles north of the village of Oakwood, Illinois. The plant sits on the west

bank of the Middle Fork, in a 17-mile section designated as Illinois’ only National Scenic River

and first State Scenic River.



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       30.     From the mid-1950s until 2011, the plant burned coal and generated millions of

tons of coal combustion residuals (“coal ash”). Dynegy and its predecessor mixed the coal ash

generated at the Vermilion Power Station with water and sluiced it into three unlined coal ash

pits, known as the Old East Ash Pond, the North Ash Pond System, and the New East Ash Pond.

       31.     When the plant opened in 1955, ash was flushed into the Old East Ash Pond.

That pit was in service until the North Ash Pond System, a two-cell pit, was built in the mid-

1970s. In 1989, the coal ash was diverted to the New East Ash Pond, which received coal ash

until the plant’s closure in 2011.

       32.     Although the coal ash pits are out of service, all three continue to store coal ash –

including coal ash as deep as 44 feet in some locations. The three unlined coal ash pits contain

an approximate total of 3.33 million cubic yards of coal ash.

       33.     Dynegy continues to own these coal ash pits and remains responsible for

maintaining them, as well as performing any remaining activities at the plant.

       34.     Coal ash wastewater such as that in the coal ash pits contains heavy metals and

other toxic pollutants that are harmful and at times deadly to people, aquatic life, and animals.

Among the contaminants found in coal ash are arsenic, barium, boron, chromium, lead,

manganese, molybdenum, nickel, and sulfate. These contaminants can inflict severe harm,

including brain damage, cancer, learning disabilities, birth defects, and reproductive defects.

Arsenic is a well-known carcinogen that also damages the nervous system. Manganese is

associated with learning disabilities and nervous system impairment, and can render water

unusable by discoloring the water, giving it a metallic taste, and causing black staining.

Molybdenum has been linked to gout (joint pain, fatigue), increased blood uric acid levels, high

blood pressure, liver disease, and potential adverse impacts on the reproductive system. And



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boron, a dependable indicator of coal ash contamination, can lead to reduced sperm count,

testicular degeneration, birth defects, and low birth weight among humans.

       35.     The Middle Fork and the flora and fauna the river supports draw visitors from

near and far. Canoeing and kayaking on the Middle Fork are popular pastimes, as is hiking the

trails of the Kickapoo State Recreation Area, Kennekuk Cove County Park, and Middle Fork

State Fish and Wildlife Area, all located along the Middle Fork. Other visitors come to the river

and its shoreline parks to camp, walk their dogs, ride horses, hunt, photograph wildlife, picnic, or

just to bask in the Middle Fork’s scenic beauty.

       Dynegy’s NPDES Permit for the Vermilion Power Station

       36.     Dynegy’s limited authorization to discharge wastewater from the Vermilion

Power Station is set out in NPDES Permit IL0004057 (“the Permit”), granted by IEPA pursuant

to the state agency’s delegated authority under the CWA, 33 U.S.C. § 1342(b).

       37.     The Permit regulates discharges of pollutants from the Vermilion Power Station,

specifying which wastewater streams may be discharged from which points at the plant (defined

as permitted “outfalls”). It also establishes effluent limitations, as well as monitoring and

reporting requirements for certain pollutants within those wastewater streams. To this effect, the

Permit defines nine external outfalls at the Vermilion Power Station – Outfalls 001, A01, B01,

C01, 002, 003, A03, B03, and C03 – each of which authorizes limited discharges of certain

pollutants at specific outfalls to the Middle Fork.

       38.     Standard Condition 23 of NPDES Permit IL0004057 states that “[c]ollected

screening, slurries, sludges, and other solids shall be disposed of in such a manner as to prevent

entry of those wastes (or runoff from the wastes) into waters of the State. The proper




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authorization for such disposal shall be obtained from the Agency and is incorporated as part

hereof by reference.”

       39.     Applicable Illinois regulations define “sludge” as “any solid, semisolid, or liquid

waste generated from a municipal, commercial, or industrial wastewater treatment plant, water

supply treatment plant, or air pollution control facility or any other such waste having similar

characteristics and effects.” 35 Ill. Adm. Code § 301.395.

       40.     Applicable Illinois law defines “disposal” as “the discharge, deposit, injection,

dumping, spilling, leaking or placing of any waste or hazardous waste into or on any land or

water . . . so that such waste or hazardous waste or any constituent thereof may enter the

environment or be emitted into the air or discharged into any waters, including ground waters.”

415 ILCS 5/3.185.

       41.     Standard Condition 25 provides: “The permittee shall comply with, in addition to

the requirements of the permit, all applicable provisions of 35 Ill. Adm. Code Subtitle C, Subtitle

D, Subtitle E, and all applicable orders of the [Illinois Pollution Control] Board.”

       42.     Subtitle C of the Illinois Administrative Code provides that “no effluent shall

contain settleable solids, floating debris, visible oil, grease, scum or sludge solids. Color, odor

and turbidity must be reduced to below obvious levels.” 35 Ill. Adm. Code § 304.106. The term

“effluent” is defined, in relevant part, as “any wastewater discharged, directly or indirectly, to the

waters of the State or to any storm sewer, and the runoff from land used for the disposition of

wastewater or sludges.” Id. § 301.275.

       43.     Subtitle C of the Illinois Administrative Code further provides that “[n]o person

shall cause or allow the concentration of the following constituents in any effluent to exceed the




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following levels, subject to the averaging rules contained in Section 304.104(a).” Id.

§ 304.124(a).

        44.     Subtitle C of the Illinois Administrative Code sets the effluent limit for iron (total)

at 2.0 mg/l, while the maximum level for manganese is 1.0 mg/l. Id.

        45.     Subtitle C of the Illinois Administrative Code contains averaging rules which

provide that no “grab sample” – that is, a sample “taken at a single time” – “shall exceed five

times the prescribed numerical standard.” Id. § 304.104(a)(3), (b)(3).

        46.     Subtitle C of the Illinois Administrative Code further provides that “[w]aters of

the State shall be free from sludge or bottom deposits, floating debris, visible oil, odor, plant or

algal growth, color or turbidity of other than natural origin.” Id. § 302.203.

        47.     The current iteration of the Permit was issued and became effective on March 7,

2003.

        Dynegy’s Discharges into the Middle Fork

        48.     Upon information and belief, dating back to at least May 2013, the coal ash pits at

the Vermilion Power Station have discharged, and continue to discharge on an ongoing basis,

pollutants – including, but not limited to, arsenic, barium, boron, chromium, iron, lead,

manganese, molybdenum, nickel, sulfate, and total dissolved solids – into the Middle Fork from

numerous, discrete, unpermitted seeps on the riverbank adjacent to the North Ash Pond and Old

East Ash Pond in areas where there are no permitted outfalls.

        49.     The Middle Fork is a surface water body within the jurisdiction of the CWA as

well as a water of the state of Illinois. The Middle Fork has no specific use designation and, as

such, is subject to the general use standards codified at 35 Ill. Adm. Code Part 302 Subpart B,

which forms part of 35 Ill. Adm. Code Subtitle C. See 35 Ill. Admin. Code §§ 303.201,



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302.101(b). The Middle Fork is also subject to the general effluent limitations set forth at 35 Ill.

Adm. Code Part 304 Subpart A, which also forms part of 35 Ill. Adm. Code Subtitle C. See id.

§ 304.101(a).

        50.      Groundwater monitoring at the North Ash Pond System and Old East Ash Pond

was performed from 1992 through 2007, and again in 2011. Upon information and belief,

groundwater monitoring at the site was reinitiated in 2017.

        51.      Over the extended period of groundwater monitoring undertaken between 1992

and 2011, concentrations of boron and sulfate – primary indicators of coal ash contamination1 –

consistently exceeded Illinois’ groundwater protection standards2 and, on numerous occasions,

also exceeded EPA drinking water health advisories for those contaminants.3

        52.      Dynegy’s consultants have concluded that the presence of boron and sulfate at the

concentrations found at the Vermilion Power Station “indicat[e] that groundwater quality at the

facility has been impacted by leachate from the [Old East Ash Pond] and [North Ash Pond

System],”4 and that the elevated concentrations of boron, sulfate, manganese, iron, pH, and total

dissolved solids in groundwater at the site are partially due to the impacts of coal ash.5

        53.      Coal ash at the Vermilion Power Station has groundwater flowing through it year

round.6 While the thickness of saturated ash varies as groundwater levels rise and fall with the




1
  See Kelron Environmental, Hydrogeology and Groundwater Quality of the Old East Ash Pond, Vermilion Power
Station, at 33, 35 (Mar. 15, 2012) [hereinafter “OEAP Report”].
2
  See Kelron Environmental, Hydrogeology and Groundwater Quality of the North Ash Pond System, at Tables 10
& 11 (Mar. 15, 2012) [hereinafter “NAPS Report”].
3
  Id.; see also EPA, 2018 Edition of the Drinking Water Standards and Health Advisories Tables (Mar. 2018),
https://www.epa.gov/sites/production/files/2018-03/documents/dwtable2018.pdf.
4
  Natural Resource Technology, Inc. (“NRT”), Application for Groundwater Management Zone, North Ash Pond
System and Old East Ash Pond, at 1-3 (Mar. 27, 2012); see also NRT, Corrective Action Plan: North Ash Pond
System (Revised), at 1-2 (Apr. 2, 2014) [hereinafter “NAPS Revised CAP”]; NRT, Corrective Action Plan: Old East
Ash Pond (Revised), at 1-2 (Apr. 2, 2014).
5
  OEAP Report at vi.
6
  Id. at v.

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seasons, groundwater has saturated coal ash at depths of more than 21 feet.7 That groundwater

flows laterally through the ash, picking up contaminants in the process, while precipitation

leaching down through the top of the coal ash mixes with the groundwater and further adds to the

pollutant load contained within the discharge to the Middle Fork.8

        54.     Dynegy’s own reports and information have concluded that the coal ash

contaminated groundwater flows right into the adjacent Middle Fork.9

        55.     In May 2016 and September 2017, Plaintiff sampled five discrete groundwater

seeps discharging into the river. Independent laboratory testing revealed concentrations of

arsenic, barium, boron, chromium, manganese, molybdenum, and sulfate in those seeps that

exceed background levels and, for multiple pollutants, exceed health-based standards set by EPA

and IEPA.

        56.     Plaintiff’s sampling also detected iron concentrations as high as 241 mg/l and

manganese concentrations as high as 7.35 mg/l.

        57.     Upon information and belief, dating back to at least May 2013, discharges from

the coal ash pits at Vermilion Power Station have discolored, and are continuing to discolor, the

Middle Fork in low-flow areas of the river adjacent to the coal ash pits with a bright orange-red

color not of natural origin.




7
  Id.; see also NAPS Report at 22, Figures 6A, 6D.
8
  See OEAP Report at 26; NAPS Report at 26; NAPS Revised CAP at 2-2.
9
  See, e.g., OEAP Report at vi, 26; NAPS Report at 26, Tables 10 & 11; NAPS Revised CAP at 2-2; Dynegy Form
10-K, at 22 (fiscal year ending Dec. 31, 2016),
https://www.dynegy.com/sites/default/files/Dynegy_2016_Annual_Report.pdf.

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                                      CLAIMS FOR RELIEF

        Count 1: Discharges Without Authorization in a NPDES Permit

        58.     Plaintiff re-alleges and incorporates the allegations of all the preceding paragraphs

of this Complaint, as well as all exhibits, as if fully set forth herein.

        59.     The Middle Fork is a navigable water as defined in the CWA, 33 U.S.C. §

1362(7).

        60.     Dynegy is discharging and has discharged pollutants, as defined in the CWA, id.

§ 1362(6), (12), from the coal ash pits at the Vermilion Power Station to the Middle Fork. Upon

information and belief, these discharges will continue after the date of the filing of this

Complaint.

        61.     Discharges of pollutants from the Vermilion Power Station into the Middle Fork

from discrete, unpermitted seeps on the riverbank adjacent to the North Ash Pond and Old East

Ash Pond are not authorized by Permit IL0004057, and they are contrary to the limited

authorization to discharge contained in that permit.

        62.     Dynegy has violated and is continuing to violate the CWA, id. § 1311(a).

Therefore, under the CWA citizen suit provision, id. § 1365, a civil action may be maintained

against Dynegy.

        63.     By committing the acts and omissions alleged above, Dynegy is subject to an

assessment of civil penalties pursuant to 33 U.S.C. §§ 1319(d) & 1365 and 40 C.F.R. § 19.4.

        64.     In a letter postmarked January 31, 2018, Plaintiff sent Dynegy notice of the

violations alleged in this claim for relief as required by 33 U.S.C. § 1365(b)(1). Plaintiff’s notice

letter is attached to this Complaint as Exhibit A.




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        65.     Unless Dynegy desists in its violations of 33 U.S.C. § 1311(a), Plaintiff, its

respective members, and their communities will suffer irreparable harm.

        66.     Plaintiff has no adequate remedy at law, and therefore equitable relief is

warranted.

        Count 2: Discharges in Violation of NPDES Permit Conditions

        67.     Plaintiff re-alleges and incorporates the allegations of all the preceding paragraphs

of this Complaint, as well as all exhibits, as if fully set forth herein.

        68.     The Middle Fork is a water of the state of Illinois.

        69.     Discharges of pollutants from the Vermilion coal ash pits into the Middle Fork

violate Standard Condition 23 of the Permit.

        70.     Dynegy’s discharges of pollutants have discolored, and are continuing to discolor,

the Middle Fork a bright orange-red color not of natural origin, in violation of Standard

Condition 25 of the Permit.

        71.     Dynegy’s discharges have included, and continue to include, iron and manganese

at concentrations exceeding the effluent limits in Subtitle C of the Illinois Administrative Code,

in violation of Standard Condition 25 of the Permit.

        72.     Dynegy’s discharges of pollutants have been, and continue to be, a bright orange-

red color that stands out distinctly and is not “below obvious levels,” in violation of Standard

Condition 25 of the Permit.

        73.     Dynegy’s discharges of pollutants have contained, and continue to contain, solids

that settle on the riverbed, in violation of Standard Condition 25 of the Permit.




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       74.     By violating the conditions of the Permit, Dynegy has violated and is continuing

to violate the CWA, 33 U.S.C. § 1311(a). Therefore, under the CWA citizen suit provision, id. §

1365, a civil action may be maintained against Dynegy.

       75.     By committing the acts and omissions alleged above, Dynegy is subject to an

assessment of civil penalties pursuant to 33 U.S.C. §§ 1319(d) & 1365 and 40 C.F.R. § 19.4.

       76.     In a letter postmarked January 31, 2018, Plaintiff sent Dynegy notice of the

violations alleged in this claim for relief as required by 33 U.S.C. § 1365(b)(1). Plaintiff’s notice

letter is attached to this Complaint as Exhibit A.

       77.     Unless Dynegy desists in its violations of 33 U.S.C. § 1311(a), Plaintiff, its

respective members, and their communities will suffer irreparable harm.

       78.     Plaintiff has no adequate remedy at law, and therefore equitable relief is

warranted.

                                     PRAYER FOR RELIEF

WHEREFORE, Plaintiff Prairie Rivers Network respectfully demands that this Court enter a

judgment:

       a)      declaring that Dynegy’s discharges of pollutants into the Middle Fork from the

coal ash pits at the Vermilion Power Station are not authorized by NPDES Permit IL0004057

and violate the CWA, 33 U.S.C. § 1311(a);

       b)      ordering that Dynegy take all actions necessary to comply with the CWA,

including ceasing all discharges that are not authorized by, or that violate a condition of, NPDES

Permit IL0004057;




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       c)      assessing Dynegy civil penalties under 33 U.S.C. §§ 1319(d) & 1365 and 40

C.F.R. § 19.4 not to exceed $53,484 per day for each violation of the CWA within the five-year

statute of limitations period;

       d)      awarding Plaintiff its litigation costs and reasonable attorney fees incurred in

prosecuting this action, pursuant to 33 U.S.C. § 1365(d); and

       e)      ordering such other relief as the Court may deem just and proper.

Dated: May 30, 2018                           Respectfully submitted,
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